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AO 442 (Rev. 11/11) Arrest Warrant



                                           UNITED STATES DISTRICT COURT
                                                                   for the
                                                           District of Columbia

                      United States of America
                                 v.                                   )
                                                                      ) Case 1 :23-mj-244
                         Nhi Ngoc Mai Le                              ) Atslgr,ed To. Magistrate Judge Zsa M. Faruqut
                                                                      ) Oete: 916/2023
                                                                      ) Oescripllon. Complaint wilh An9" Werrant
                                                                      )
                               Defendant


                                                       ARREST WARRANT
To:       Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(11l1111e ofperson to be arrested)                                       Nhi Ngoc Mai Le
who is accused of an offense or violation based on the following document filed with the court:

0 Indictment                0 Superseding Indictment        0 Information      O Superseding Information           N Complaint
CJ Probation Violation Petition              0 Supervised Release Violation Petition   □ Violation Notice O Order of the Court
This offense is briefly described as follows:
 18 U.S.C. § 1752(a)(l)- Knowingly Entering or Remaining in any Restricted Building or Grounds Without
 Lawful Authority;
 18 U.S.C. § l 752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
 40 U.S.C. § 5104(e)(2)(D)- Disorderly Conduct in a Capitol Building;
  40 U.S.C. § 5104(e)(2)(G)- Parading, Demonstrating, or Picketing in a Capitol Building.
                                                                                                      Zia M. Faruqui
Date:           09/06/2.02.3_
                                                                                       -�             2023.09.06 13:44:37 -04'00'

                                                                                        Issuing officer's signature

City and state:        ____ Wasb.!ill@_)n, D.C=·---                            Zia M. Faruqui, U.S. Magistrate Judge
                                                                                          Printed name and title


                                                                  Return
          This warrant was received on (date)       '1 O' J UJ Z..5
at (city and state}      CJ.rt fk.C<J       I I_
                                      -,

Date:     /J,.Joe I '/J?..J

                                                                                        De,£v        rlSr �Reh.I A;tA-f
                                                                                          Printed name and title
